        Case 1:15-cr-00147-SPW Document 157 Filed 05/18/17 Page 1 of 2




                                                                               ~
                                                                      q,     ~)" ~~.
                   IN THE UNITED STATES DISTRICT COURT                '(~"' /d'd ~
                       FOR THE DISTRICT OF MONTANA                         ~:~...-2.i-~. ~
                             BILLINGS DIVISION                              ~.r 0~~~00
                                                                                   "Ql ~1'


 UNITED STATES OF AMERICA,
                                                    CR 15-147-BLG-SPW-3
                        Plaintiff,

 vs.                                                 ORDER

 DUSTY WHITEHOUSE,

                        Defendant.

        At the request of the U.S. Probation Officer in the above-entitled matter,

        IT IS HEREBY ORDERED that the sentencing hearing currently scheduled

for Thursday, June 8, 2017 at 10:30 a.m., is VACATED and reset to commence on

Friday, June 30, 2017 at 1:30 p.m. in the James F. Battin U.S. Courthouse,

Billings, Montana.

        IT IS FURTHER ORDERED that,

        1.    The presentence report, in final form, including any unresolved

objections, shall be delivered to the Court and the parties on or before June 9,

2017.




                                           1
       Case 1:15-cr-00147-SPW Document 157 Filed 05/18/17 Page 2 of 2




      2.     Sentencing memoranda and supporting documents addressing all

relevant sentencing issues shall be filed on or before June 16, 2017.    Absent good

cause shown, sentencing memoranda and supporting documents filed after June 16,

2017 will not be considered in addressing sentencing issues.     Failure to timely file

sentencing memoranda may result in imposition of sanctions against counsel.

      3.     Responses to sentencing memoranda shall be filed on or before June

23, 2017.

      4.     Reply briefs will not be accepted for filing in sentencing matters.

      5.     The Court will resolve objections included in the Addendum to the

presentence report at the sentencing hearing in accordance with U.S.S.G. § 6Al.3.

      6.       All parties that intend to have witnesses testify at sentencing shall

give notice to this Court ten (10) days prior to the sentencing date.

      The Clerk shall forthwith notify the parties of the making of this Order.

                   ~
      DATED this _f£ day ofMay, 2017. ~


                                              SUSANP:WA'l"RS
                                                                 ,w~
                                              U.S. DISTRICT JUDGE




                                          2
